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                EXHIBIT /
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                                                       U.S. Department of Justice


                                                       Criminal Division

Fraud Section

                                                       June 15, 2023



Via Email


       Re:      United States v. Constantinescu, et al., 22-cr-612 (S.D. Tex.)


Dear Counsel:
                                                                                               Digital
        The United States provides notice of its intent to call Joseph Varani, Senior
                                                                             as  a witness  to testify
Investigative Analyst with the Department of Justice's Cybercrime Lab,
                                                                                       United States
about the certain social-media messages from Twitter, Inc. and Discord, Inc. The
                                                                                           testimony
does not intend to qualify Mr. Varani as an expert and does not believe that any of his
                                                                                             Criminal
would implicate Federal Rules of Evidence 702, 703, and/or 705 or Federal Rule of
                                                                                          anticipated
Procedure 16(a)(1)(G). Nonetheless, we are providing you notice of Mr. Varani's
testimony in an abundance of caution.
                                                                                              Analyst
         As referenced in the enclosed CV, Mr. Varani has worked as a Digital Investigative
                                                                              to his current  position
at DOJ since 2010. See Ex. A (CV). Mr. Varani's work experience prior
                                                                                             States v.
at DOJ is also detailed in the enclosed CV. Mr. Varani previously testified in United
                                                                                     15-cr-588   (S.D.
Heyn, 11-cr-80210 (S.D. Fl.), United States v. Ahmed Mohammed El Gammal,
                                                                                            not been
N.Y.); and United States v. Avenatti, 19-c4-00061 (C.D. Ca.). Mr. Varani has
                                                                                              at DOJ.
 compensated for his work in this case, beyond his regular compensation as an employee
 Mr. Varani does not have any relevant publications.
                                                                                                among
         We anticipate that Mr. Varani would testify about the below-referenced topics,
                                                                            and Discord,  Inc.
 others, relating to the search-warrant returns obtained from Twitter, Inc.




                                                   1
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            A. Twitter, Inc.
       Mr. Varani processed the search-warrant returns from September 2022 and March 2023.
Those returns included text files for tweets, direct messages, and group messages (collectively,
"Content"), and the folders containing attachments associated with the Content. The Content
related to the following Twitter accounts:           @dipdeity; @Hugh_Henne; @LadeBackk;
@MrZackMorris; @notoriousalerts;     @ohheytommy;     @PJ_Matlock; and @Ultra_Calls.1

        Mr. Varani ran a Python script that read the Content in the text files, removed duplicate
Content, and formatted the date column for ease of sorting and general viewing.2 All tweets from
the Accounts were then processed and saved into both a html page (which included the
attachments) and an Excel workbook. For the direct and group messages, keywords in Exhibit B
were searched across the specific conversations and any conversation that hit on a keyword was
processed in both a html page (which included the embedded attachments) and an Excel workbook.
Other conversations that did not hit on a keyword were not processed. As to both the tweets and
the conversations, the attachments were matched to the message by following the steps described
in the Twitter readme file. See Ex. C.3
            B. Discord, Inc.
        Mr. Varani processed this search-warrant return in a similar manner as the Twitter search-
warrant return. This return contained folders for attachments, messages, and servers. Mr. Varani
ran a Python script that read the server JSON files to identify the channel names. The Python
script also read the CSV files for the messages. The script formatted the underlying information
for both the channels and the messages.4 The channels requested by DOJ5 were processed in html
foimat (which included the embedded attachments). As with the Twitter search-warrant return,
keywords in Exhibit B were searched across the messages and any conversation that hit on a
keyword was processed in both a html page (which included the embedded attachments) and an
Excel workbook. As to both the channels and the conversations, the attachments were matched to
the message by following the steps described in the Discord readme file. See Ex. D.6




       1Please note that the search-warrant returns for both Twitter, Inc. and Discord, Inc. that
Mr. Varani processed are referenced in discovery as the original search warrant returns.

       2   All Content is in UTC time zone.

       3   The processed Content has been produced to each defendant in discovery.

       4   The above-referenced information is also in UTC time zone.

       5   The processed channels have been produced to each defendant in discovery.

       6   The processed materials have been produced to each defendant in discovery.
                                                 2
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                                                                                            anticipated
       The United States reserves the right to supplement and/or amend Mr. Varani's
                                                                                 based on  information
testimony and to call additional experts in its case-in-chief or rebuttal case,
                                                                  during  trial, including  in response
made known to the United States and/or Mr. Varani before or
to Defendants' experts or case.
                                                         Very truly yours,

                                                         By:
                                                                   tt Armstrong, Assistant Chief
                                                                John J. Liolos, Trial Attorney

                                                                                       Digitally signed byJOSEPH
                                                               JOSEPH VARANI VARANI
                                                                             Date: 2023.06.14 15:35.43 -04,00'
                                                         By:
                                                               Joseph Varani
                                                               Senior Digital Investigative Analyst




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